     Case 2:13-cr-06070-SAB      ECF No. 78    filed 03/15/24   PageID.291          Page 1 of 2




 1                                                                        FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON

 2
                                                                 Mar 15, 2024
 3
                                                                     SEAN F. MCAVOY, CLERK

 4                       UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                      No. 2:13-CR-06070-SAB-1
 7
 8                       Plaintiff,                 ORDER FOLLOWING INITIAL
 9                                                  APPEARANCE ON SUPERVISED
                         v.                         RELEASE VIOLATION PETITION
10
11   KENNETH RICHARD ROWELL,
12                       Defendant.
13
14         On March 14, 2024, the Court held a hearing for Defendant KENNETH
15   RICHARD ROWELL’s initial appearance based on a petition for action, post-
16   conviction, filed February 23, 2024, ECF No. 67, alleging Violation Nos. 1-7.
17   Defendant appeared out of custody represented by Assistant Federal Defender
18   Nick Mirr. Assistant U.S. Attorney Laurel Holland represented the United States.
19   U.S. Probation Officer Janie Coronado was also present in Richland. Defendant
20   consented to the proceedings being conducted by video with the Court presiding in
21   Spokane, Defendant and his counsel appearing in Richland, and the Government
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     appearing in Richland.
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           Defendant was advised of, and acknowledged, his rights. The Court entered
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     a denial of the violations pending on the petition on behalf of Defendant. The
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     Office of the Federal Defenders of Eastern Washington and Idaho was appointed to
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     represent the Defendant in this matter. The United States did not seek Defendant’s
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     detention.
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     ORDER - 1
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 1         IT IS ORDERED:

 2         1.    Defendant is released on the previously imposed conditions of
 3   supervised release pending the revocation hearing. Said conditions are further
 4   expressly reimposed under 18 U.S.C. § 3142(c), pursuant to this Court’s authority
 5   to grant pre-revocation hearing release under Federal Rule of Criminal Procedure
 6   32.1(a)(6) and 18 U.S.C. § 3143(a)(1).
 7         2.    A supervised release revocation hearing is set before Chief Judge
 8   Bastian in Yakima on March 26, 2024, at 9:00 a.m.
 9         IT IS SO ORDERED.
10
           DATED March 15, 2024.
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12                               _____________________________________
13                                         JAMES A. GOEKE
                                  UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
